N ‘
IN THE UNITED STATES DISTRICT COURT I I LE Wy
FOR THE EASTERN DISTRICT OF TEXAS
SHERMAN DIVISION JUN 8 0 2017

Clerk, U.S. District Court

 

UNITED STATES OF AMERICA —§ Texas Eastern

Vv. No. 4:17CR /I7

PETER ZUCCARELLI mudee Maz tant
INFORMATION

THE UNITED STATES ATTORNEY CHARGES:
Count One
Violation: 18 U.S.C. § 371
(Conspiracy to Smuggle Goods out of
the United States and to Violate the
International Emergency.Economic
Powers Act)
At all times relevant to this information:
1. Defendant Peter Zuccarelli was a citizen of the United States of America
who resided in Plano, Texas.
2. A Co-Conspirator known to the United States Attorney as “SR” was a
naturalized citizen of the United States of America who was born in Pakistan.
3, American Coating Technologies was a company located in Carrollton,
Texas that was owned and operated by Defendant Peter Zucacarelli.
4. U.S. Company | was a company with a facility in Colorado that

manufactured Radiation Hardened Integrated Circuits (RHICs) that could be used in

space exploration.

Information
Page 1
5. U.S. Company 2 was a company located in California that manufactured
RHICs that could be used in space exploration.

6. Title 18, United States Code, Section 554 (Smuggling goods from the
United States) made it a federal crime to fraudulently or knowingly export or send from
the United States any merchandise contrary to any law or regulation of the United States
or to receive, buy, sell, or facilitate the sale of merchandise prior to exportation, knowing
the merchandise to be intended for exportation contrary to any law or regulation.

7. Title 50, United States Code, Section 1705 (the International Emergency
Economic Powers Act) and related laws and regulations, including the Export
Administration Regulations, Title 14, Code of Federal Regulations, Sections 730-774,
made it a federal crime to willfully export or attempt to export items from the United
States without the required export licenses.

8. Between June 2015 and March 2016, RHICs with model number
UT8MR8M8-S50XTC, manufactured by U.S. Company 1, required an export license from
the Department of Commerce for export to Russia.

9. Between June 2015 and March 2016, RHICs with model number
XQR4VSX55-10CF1140V, manufactured by U.S. Company 2, required an export license
from the Department of Commerce for export to the People’s Republic of China.

10. From about June 2015 and continuing until about March 2016, in the
Eastern District of Texas and elsewhere, Defendant Peter Zuccarelli, Co-Conspirator
SR, and other persons, known and unknown to the United States Attorney, knowingly
and willfully agreed to illegally smuggle and export U.S. Company model number

Information
Page 2
UT8MR8M8-S50XTC and U.S. Company 2 model number XQR4VSX55-10CF1140V

RHICs (hereinafter, the RHICs) from the United States to China and Russia.

11. It was the purpose of the conspiracy to obtain the RHICs and export them

to a place outside of the United States contrary to applicable laws and regulations and

without the required export licenses.

12. To effect the objects of the conspiracy, Defendant Peter Zuccarelli, Co-

Conspirator SR, and others, known and unknown to the United States Attorney,

committed the following OVERT ACTS:

A. Co-Conspirator SR identified customers that wanted to purchase the
RHICs for use in China’s space program and Russia’s space program, took orders
for the RHICs from those customers, and relayed those orders to Defendant Peter
Zuccarelli.

B. Co-Conspirator SR arranged for a total of $1,575,983 to be placed
into a bank account controlled by Defendant Peter Zuccarelli so Defendant Peter
Zuccarelli could use the money to purchase the RHICs for the Chinese and
Russian customers.

C.  Co-Conspirator SR instructed Defendant Peter Zuccarelli to create
false paperwork and to make false statements in an attempt to hide the conspiracy
from United States government officials; Defendant Peter Zuccarelli followed
Co-Conspirator SR’s instructions.

D. — From the Eastern District of Texas and elsewhere, Defendant Peter

Zuccarelli sent orders for the RHICs to U.S. Company 1 and U.S. Company 2,

Information

Page 3
certified that American Coating Technologies was the end-user of the RHICs
knowing that it was not, and used the money described in paragraph 12B to pay
for the RHICs.

E. Defendant Peter Zuccarelli, received the RHICs that he had
ordered, removed them from their original packaging, repackaged them, falsely
declared that they were “touch screen parts,” and shipped them out of the United
States.

F, Defendant Peter Zuccarelli, also received what he believed were
the RHICs that he had ordered, removed them from their original packaging,
repackaged them, falsely declared that they were “touch screen parts,” and
attempted to ship them out of the United States.

In violation of 18 U.S.C. § 371.

BRIT FEATHERSTON
ACTING UNITED STATES ATTORNEY

e/a 6/277

G.R.JACKSON \ Date

Assistant United States Attorney

Information

Page 4
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

 

SHERMAN DIVISION
UNITED STATES OF AMERICA §
V. ; No. 4:17CR
§ Judge
PETER ZUCCARELLI §
NOTICE OF PENALTY
Count One
VIOLATION: 18 U.S.C. § 371
PENALTY: Imprisonment of not more than 5 years

and/or a fine of not more than $ 250,000 and
a term of supervised release of not more than 3 years.

SPECIAL ASSESSMENT: $100.00

Information
- Page 5%
